            Case 3:07-cv-00413-AC       Document 189        Filed 06/27/19     Page 1 of 3




                         IN THE UNITED STATES DISTRJCT COURT

                               FOR THE DISTRJCT OF OREGON

FRANKE. GABLE,
                                                                      Case No. 3:07-cv-00413-AC
               Petitioner,
                                                                                           ORDER
       V.

MAX WILLIAMS,

               Respondent.


ACOSTA, Magistrate ,Judge:

       On April 18, 2019, the court issued an Opinion and Order (ECF No. 168) ("Decision") in

which it granted in part and denied in part Gable's amended petition (ECF No. 61) for writ of habeas

corpus, and ordered Respondent to retty or release Gable within 90 days, and entered judgment (ECF

No. 169) in accordance with that Decision. Respondent filed an appeal (ECF No. 170) of the

Decision and judgment in the Ninth Circuit Court of Appeals, and also filed a motion (ECF No. 171)

for a stay of the Decision pending its appeal. Gable filed his own appeal (ECF No. 174) and also

filed a motion (ECF No. 181) for his release from custody pending these appeals.

       In the weeks following these filings, Gable and Respondent, conferring with one another and


I -ORDER
         Case 3:07-cv-00413-AC          Document 189        Filed 06/27/19     Page 2 of 3




coordinating with the U.S. Attorney's Office for the District of Oregon and the Probation Office for

the District of Oregon, have resolved every issue raised in the patties' respective motions. These

efforts also resulted in entry of an order (ECF No. 74) in United States v. Frank Edward Gable, Case

No. 3 :90-cr-00170-SI-1 (D. Or.), staying execution of Gable's consecutive federal sentence pending

the final outcome in this case and removing the federal detainer on Gable. In that order, United

States District Judge Michael Simon referred to this court determination of the release conditions

governing Gable's release pending the appeal process.

        Accordingly, the comt hereby ORDERS:

        1. That the portion of this comt's Judgment (ECF No. 169) requiring the State of Oregon

        to retiy Petitioner on the aggravated murder charges within 90 days of the date thereof is

        hereby STAYED pending resolution of the Respondent's appeal to the United States Court

        of Appeals for the Ninth Circuit and, if applicable, the United States Supreme Court.

        2. Gable shall be released from the Custody of the Oregon Depaitment of Corrections at

        10:00 a.m. Central Time on Friday, June 28, 2019.

        3. Gable's release pending the appeal process shall be supervised by the United States

       Probation and Pretrial Services Office for the District of Kansas,.

       4. Pursuant to Judge Simon's refen-al order in Case No. 90-170-SI and the authority granted

       under 28 U.S.C. § 3603(10), Gable's release pending the appeal process shall be governed

       by the conditions set forth in the order of release signed by the comt on this date.

       IT IS FURTHER ORDERED that the parties shall confirm and submit a status repo1t to

the cou1t within 30 days of the Ninth Circuit's ruling on Respondent's appeal. At that time, the

patties shall notify the court whether the stay of the retrial should continue because of any pending


2-ORDER
         Case 3:07-cv-00413-AC         Document 189       Filed 06/27/19      Page 3 of 3




Supreme Comt litigation, or any other or additional reason.

       IT IS FURTHER ORDERED that the Clerk of the Coutt is DIRECTED to file a copy of

this Order in United States v. Frank Edward Gable, Case No. 3:90-cr-00170-SI.




                                              :f
                                              .//0~
                                                ". .
       IT IS SO ORDERED.
                     ,.::] '7f-~

                             .
       DAIBD iliis .c.JL day of faae, 2019.
                                            ( ,' (j
                                               ! JOfIN V. ACOSTA
                                             UnitedJ;tates Magistrate Judge




3-0RDER
